                Case 2:15-cv-00952-SGC Document 126 Filed 06/15/18 Page 1 of 5                    FILED
                                                                                         2018 Jun-15 PM 05:15
                                                                                         U.S. DISTRICT COURT
                                                                                             N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

SHAUN J. YOUNGER,                                  )
                                                   )
                    Plaintiff,                     )
                                                             Civil Action Number
                                                   )
v.                                                           2:15-cv-00952-SGC
                                                   )
EXPERIAN INFORMATION                               )
                                                             UNOPPOSED
SOLUTIONS, INC.,                                   )
                                                   )
                    Defendant.                     )


          DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.’S
               MOTION FOR SETTING OF PAGE LIMITS FOR
                   COMBINED POST-TRIAL MOTIONS
            Defendant Experian Information Solutions, Inc. (“Experian”) respectfully

requests that the Court grant it a total of 40 pages for Experian’s combined post-

trial motions. Experian intends to file what would otherwise be multiple post-trial

motions in a combined format -- a Renewed Motion for Judgment as a Matter of

Law, a Motion to Alter or Amend the Judgment, and a Motion for New Trial --

rather than filing three separate motions of 15 pages per motion.

            It is unclear how the page limits set forth in the Initial Order (Doc. 18)

entered July 30, 2015, were anticipated to apply to post-trial motions. The Initial

Order (Doc. 18) set out page limits for dispositive motions, broken down into

summary judgment and non-summary judgment. For summary judgment motions,

the Court limited initial and responsive briefs to 30 pages, exclusive of exhibits,


{W0566070.1 }
                Case 2:15-cv-00952-SGC Document 126 Filed 06/15/18 Page 2 of 5



and reply briefs to 15 pages. (Doc. 18 at 5.) For “dispositive motions other than

summary judgment” (presumably motions to dismiss or for judgment on the

pleadings), the Court limited initial and responsive briefs to 15 pages, exclusive of

exhibits, and reply briefs to 10 pages. (Doc. 18 at 6.) Experian’s combined post-

trial motions are more akin to summary judgment motions and thus warrant the

larger page limit.

            Moreover, Experian seeks a total page limit of 40 pages for its combined

post-trial motions rather than filing three separate motions of 15 pages per motion,

thus reducing the total amount of pages for consideration. Experian requests the

40-page limit in good faith.

            Experian has consulted with counsel for Plaintiff, who does not oppose this

motion, and requests that the Court set a commensurate 40-page limit for any

response to Experian’s combined post-trial motions. Experian further requests that

the Court set a limit of 25 pages for any reply in support of its combined post-trial

motions.

            For good cause, Experian hereby requests that the Court enter the attached

order and set the following page limits for its combined post-trial motions: 40

pages for initial and responsive briefs, exclusive of exhibits, and 25 pages for

reply, exclusive of exhibits.




{W0566070.1 }                                -2-
                Case 2:15-cv-00952-SGC Document 126 Filed 06/15/18 Page 3 of 5



Dated: June 15, 2018                           Respectfully submitted,

                                               /s/ L. Jackson Young, Jr.
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{W0566070.1 }                                -3-
                Case 2:15-cv-00952-SGC Document 126 Filed 06/15/18 Page 4 of 5




                               CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on this 15th day of June, 2018, I caused the

foregoing to be electronically filed with the Clerk of the Court by using the

CM/ECF system, which will send a notice of electronic filing to all counsel of

record.


                                                 /s/ L. Jackson Young, Jr.
                                                 L. Jackson Young, Jr.




{W0566070.1 }
                Case 2:15-cv-00952-SGC Document 126 Filed 06/15/18 Page 5 of 5



                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

SHAUN J. YOUNGER,                                )
                                                 )
                    Plaintiff,                   )
                                                         Civil Action Number
                                                 )
v.                                                       2:15-cv-00952-SGC
                                                 )
EXPERIAN INFORMATION                             )
SOLUTIONS, INC.,                                 )
                                                 )
                    Defendant.                   )


                [PROPOSED] ORDER GRANTING DEFENDANT EXPERIAN
                        INFORMATION SOLUTIONS, INC.’S
                    MOTION FOR SETTING OF PAGE LIMITS FOR
                        COMBINED POST-TRIAL MOTIONS
            Currently before this Court is Defendant Experian Information Solutions,

Inc.’s (“Experian”) Motion for Setting of Page Limits for Combined Post-Trial

Motions. The Motion is HEREBY GRANTED.

            IT IS HEREBY ORDERED that the Court sets the following page

limitations for Experian’s combined post-trial motions: initial and responsive

briefs are limited to 40 pages, exclusive of exhibits, and any reply is limited to 25

pages, exclusive of exhibits.

            SO ORDERED, this the ______ day of __________________, 2018.


                                      _________________________________
                                      UNITED STATES MAGISTRATE JUDGE
                                      NORTHERN DISTRICT OF ALABAMA


{W0566070.1 }
